Case 17-31646 Document 681 Filed in TXSB on 12/04/17 Page 1 of 2

IN THE UNITED STATES BANKRUPTCY
COURT FOR THE SOUTHERN ])ISTRICT OF

TEXAS HOUSTON I)IVISION
IN RE: §
§ CASE No.17-31646
MONTCO OFFSHORE, INC., et al., 1 §
§ Chaptcr 11
DEBTORS. §
§ (Jointly Administered)
§
§

C&G WELDING INC.’S
JOlNI)ER TO MULTIPLE OBJECTIONS 'I`O DEBTOR’S MOTION
FOR ENTRY OF AN ORDER APPROVING BIDDING PROCEDURES

[Related to Doc. 637]

TO THE HONORABLE BANKRUPTCY JUDGE MARVIN ISGUR:

C&G Welding, Inc. (“C&G”) respectfully joins in to the multiple objections filed by
various parties to Montco Offshore, Inc.s’ Emergency Motz’on for Entry of an Or'der Approving
Bz’dding Procedures [Docket No. 637] [“the Bidding Procedures Motion”] for the following
reasons:

l. Multiple parties in this proceeding, including Merit Energy Cornpany, W&T
Offshore, Mcl\/[oran Oil and Gas, LLC., and the Official Colnrnittee of Unsecured Creditors filed
objections to the Bidding Procedures Motion. [Docurnents 659 and 669].

2. C&G incorporates by reference those motions and the objections contained therein

 

]The Debtors in these chapter ll cases, together With the last four (4) digits of each Debtor’s federal tax

identification number, are Montco Oft`shore, Inc. (1448) and Montco Oiltield Contractors, LLC (9886). ”l`he mailing
address for the Debtors, solely for the purposes of notices and communications, is 17751 I~Iwy 3235, Galliano,

Louisiana 703 54.

Case 17-31646 Document 681 Filed in TXSB on 12/04/17 Page 2 of 2

as if each Were set forth in this motion verbatim.

3. In addition, C&G reserves its rights, claims, and defenses to amend, modify or
supplement this pleading, to raise evidence and object at any hearing, and to engage in discovery
related to the proposed sale process.

DATED: December 4, 2017

Respectfully submitted,
SCHOUEST BAMDAS SOSHEA & BENMAIER PLLC

/S/ =%;.%zd %?
M. Lane Lowrey (TSB# 24013065)
1001 McKinney, Suite 1400
Houston, Texas 77002
Tel, 713-588-0446 / Fax 713~574-2942
llowre sbsblaw.com

Counselfor C&G Welding

OF COUNSEL:

MCALPH\IE & COZAD

Michael L. McAlpine (TSB# 24066732)

Rachel L. Bradley (LSB#34644) Pro Hac Vice
365 Canal Street, Suite 2730 ‘
New Orleans, Louisiana 70130

Tel. 504~561-0323 / Fax 50-528~9442
mmcalpme@mcalpinelaw.com
rbradley@mcalpinelaw.com

CERT]FICATE OF SERVICE
I HEREBY CERTIFY that the foregoing document Was filed With the Clerk of Court on this §‘h_

day of December, 2017, and is available for viewing and downloading from the CM/ECF system. Notice
of Electronic Case Filing has been sent automatically to all counsel on the e-mail service list.

/s/ %1§/;§¢ ga

 

